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                                            Exhibit A
                                       Statement of Claim
                                Plaintiff Thomas John Myers, III

Unpaid Regular Wages and Minimum Wages
                                                                 Total          Total
                                                                                               Total
                                  Hours          Hourly         Unpaid         Unpaid
      Period¹        Weeks¹                                                                 Liquidated
                                 Worked¹         Rate¹          Regular       Minimum
                                                                                            Damages¹
                                                                Wages¹        Wages¹
  7/1/19 - 7/2/19      0.29         14       $      65.00     $    910.00   $     101.50    $    101.50
                                                              $    910.00   $     101.50    $    101.50

                                                           Total Unpaid Regular Wages¹ =    $     910.00
                                                          Total Unpaid Minimum Wages¹ =     $     101.50
                                                             Total Liquidated Damages¹ =    $     101.50
                                                                                 Total¹ =   $   1,011.50




¹ Numbers are averages, estimates, and/or approximates. Numbers may change as information is uncovered
through the discovery process.
